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                                                                                                                                     The Prescription Opioid and
                                                                                                                                     Heroin Crisis: A Public
                                                                                                                                     Health Approach to an
                                                                                                                                     Epidemic of Addiction
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                                                                                                                                     addiction
                                                                                  The Annual Review of Public Health is online at
                                                                                  publhealth.annualreviews.org                       Abstract
                                                                                  This article’s doi:                                Public health authorities have described, with growing alarm, an unprece-
                                                                                  10.1146/annurev-publhealth-031914-122957
                                                                                                                                     dented increase in morbidity and mortality associated with use of opioid pain
                                                                                  Copyright   c 2015 by Annual Reviews.             relievers (OPRs). Efforts to address the opioid crisis have focused mainly on
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                                                                                                                                     reducing nonmedical OPR use. Too often overlooked, however, is the need
                                                                                                                                     for preventing and treating opioid addiction, which occurs in both medical
                                                                                                                                     and nonmedical OPR users. Overprescribing of OPRs has led to a sharp
                                                                                                                                     increase in the prevalence of opioid addiction, which in turn has been asso-
                                                                                                                                     ciated with a rise in overdose deaths and heroin use. A multifaceted public
                                                                                                                                     health approach that utilizes primary, secondary, and tertiary opioid addic-
                                                                                                                                     tion prevention strategies is required to effectively reduce opioid-related
                                                                                                                                     morbidity and mortality. We describe the scope of this public health crisis,
                                                                                                                                     its historical context, contributing factors, and lines of evidence indicating
                                                                                                                                     the role of addiction in exacerbating morbidity and mortality, and we provide
                                                                                                                                     a framework for interventions to address the epidemic of opioid addiction.



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                                                                                               INTRODUCTION
                                                                                               Over the past 15 years, the rate of opioid pain reliever (OPR) use in the United States has
                                                                                               soared. From 1999 to 2011, consumption of hydrocodone more than doubled and consumption
                                                                                               of oxycodone increased by nearly 500% (42). During the same time frame, the OPR-related
                                                                                               overdose death rate nearly quadrupled (15). According to the United States Centers for Disease
                                                                                               Control and Prevention (CDC), the unprecedented increase in OPR consumption has led to the
                                                                                               “worst drug overdose epidemic in [US] history” (58). Given the magnitude of the problem, in 2014
                                                                                               the CDC added opioid overdose prevention to its list of top ﬁve public health challenges (13).
                                                                                                   Overdose mortality is not the only adverse public health outcome associated with increased
                                                                                               OPR use. The rise in opioid consumption has also been associated with a sharp increase in
                                                                                               emergency room visits for nonmedical OPR use (69) and in neonatal abstinence syndrome (57).
                                                                                               Moreover, from 1997 to 2011, there was a 900% increase in individuals seeking treatment for
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                                                                                               addiction to OPRs (66, 68). The correlation between opioid sales, OPR-related overdose deaths,
                                                                                               and treatment seeking for opioid addiction is striking (Figure 1).
                                                                                                   Addiction is deﬁned as continued use of a drug despite negative consequences (1). Opioids are
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                                                                                               highly addictive because they induce euphoria (positive reinforcement) and cessation of chronic
                                                                                               use produces dysphoria (negative reinforcement). Chronic exposure to opioids results in structural
                                                                                               and functional changes in regions of the brain that mediate affect, impulse, reward, and motivation
                                                                                               (83, 91). The disease of opioid addiction arises from repeated exposure to opioids and can occur
                                                                                               in individuals using opioids to relieve pain and in nonmedical users.
                                                                                                   Another important feature of the opioid addiction epidemic is the relationship between OPR
                                                                                               use and heroin use. According to the federal government’s National Survey on Drug Use and
                                                                                               Health (NSDUH), 4 out of 5 current heroin users report that their opioid use began with OPRs
                                                                                               (54). Many of these individuals appear to be switching to heroin after becoming addicted to
                                                                                               OPRs because heroin is less expensive on the black market. For example, in a recent sample of



                                                                                                                       8


                                                                                                                       7       Opioid sales kg/10,000
                                                                                                                               Opioid deaths/100,000
                                                                                                                       6       Opioid treatment admissions/10,000


                                                                                                                       5
                                                                                                                Rate




                                                                                                                       4


                                                                                                                       3


                                                                                                                       2


                                                                                                                       1


                                                                                                                       0
                                                                                                                           1999 2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010
                                                                                                                                                             Year
                                                                                               Figure 1
                                                                                               Rates of OPR sales, OPR-related unintentional overdose deaths, and OPR addiction treatment admissions,
                                                                                               1999–2010. Abbreviation: OPR, opioid pain reliever. Source: 10.


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                                                                                                                                            Non-Hispanic white                              Non-Hispanic black
                                                                                      Percent of all heroin admissions   50

                                                                                                                                                                                                         12–19 years
                                                                                                                         40                                                                              20–34 years
                                                                                             aged 12 and over


                                                                                                                                                                                                         35–44 years
                                                                                                                         30                                                                              45 years or older


                                                                                                                         20


                                                                                                                         10


                                                                                                                         0
                                                                                                                              2001   2003     2005    2007       2009   2011 2001    2003     2005    2007       2009    2011
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                                                                                                                                                                          Year

                                                                                  Figure 2
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                                                                                  Heroin admissions, by age group and race/ethnicity: 2001–2011. Source: 68.



                                                                                  opioid-addicted individuals who switched from OPRs to heroin, 94% reported doing so because
                                                                                  OPRs “were far more expensive and harder to obtain” (16, p. 24).
                                                                                     The increased prevalence of opioid addiction has also been associated with increases in heroin-
                                                                                  related morbidity and mortality. For example, since 2001, heroin addiction treatment admissions
                                                                                  for whites ages 20–34 have increased sharply (Figure 2). During this time frame, heroin overdose
                                                                                  deaths among whites ages 18–44 increased by 171% (14).


                                                                                  HISTORY OF OPIOID ADDICTION IN THE UNITED STATES
                                                                                  The current opioid addiction crisis is, in many ways, a replay of history. America’s ﬁrst epidemic of
                                                                                  opioid addiction occurred in the second half of the nineteenth century. In the 1840s, the estimated
                                                                                  national supply of opium and morphine could have supported a maximum of 0.72 opioid-addicted
                                                                                  individuals per 1,000 persons (18). Over the next 50 years, opioid consumption soared by 538%.
                                                                                  It reached its peak in the mid-1890s, when the supply could have supported a maximum of ∼4.59
                                                                                  opioid-addicted individuals per 1,000 persons. The ceiling rate then began to decline, and by 1920
                                                                                  there were no more than 1.97 opioid-addicted individuals per 1,000 persons in the United States.
                                                                                      The epidemic had diverse origins. Mothers dosed themselves and their children with opium
                                                                                  tinctures and patent medicines. Soldiers used opium and morphine to treat diarrhea and painful
                                                                                  injuries. Drinkers alleviated hangovers with opioids. Chinese immigrants smoked opium, a practice
                                                                                  that spread to the white underworld. But the main source of the epidemic was iatrogenic morphine
                                                                                  addiction, which coincided with the spread of hypodermic medication during 1870–1895. The
                                                                                  model opioid-addicted individual was a native-born white woman with a painful disorder, often
                                                                                  of a chronic nature.
                                                                                      Nineteenth-century physicians addicted patients—and, not infrequently, themselves—because
                                                                                  they had few alternatives to symptomatic treatment. Cures were scarce and the etiology of painful
                                                                                  conditions was poorly understood. An injection of morphine almost magically alleviated symptoms,
                                                                                  pleasing doctors and patients. Many patients continued to acquire and inject morphine, the sale
                                                                                  of which was poorly controlled.
                                                                                      The revolutions in bacteriology and public health, which reduced diarrheal and other diseases
                                                                                  commonly treated with opium; the development of alternative analgesics such as aspirin; stricter

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                                                                                               prescription laws; and admonitions about morphine in the lay and professional literature stemmed
                                                                                               the addiction tide. One important lesson of the ﬁrst narcotic epidemic is that physicians were
                                                                                               educable. Indeed, by 1919, narcotic overprescribing was the hallmark of older, less-competent
                                                                                               physicians. The younger, better-trained practitioners who replaced them were more circumspect
                                                                                               about administering and prescribing opioids (5).
                                                                                                  For the rest of the twentieth century, opioid addiction epidemics resulted from transient in-
                                                                                               creases in the incidence of nonmedical heroin use in urban areas. After World War II, these
                                                                                               epidemics disproportionately affected inner-city minority populations, such as the large, heavily
                                                                                               publicized increase in ghetto heroin use and addiction at the end of the 1960s (24, 37).


                                                                                               THE SHARP RISE IN PRESCRIPTION OPIOID CONSUMPTION
                                                                                               In 1986 a paper describing the treatment of 38 chronic pain patients concluded that OPRs could
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                                                                                               be prescribed safely on a long-term basis (61). Despite its low-quality evidence, the paper was
                                                                                               widely cited to support expanded use of opioids for chronic non-cancer pain. Opioid use increased
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                                                                                               gradually in the 1980s. In 1996, the rate of opioid use began accelerating rapidly (38). This
                                                                                               acceleration was fueled in large part by the introduction in 1995 of OxyContin, an extended
                                                                                               release formulation of oxycodone manufactured by Purdue Pharma.
                                                                                                   Between 1996 and 2002, Purdue Pharma funded more than 20,000 pain-related educational
                                                                                               programs through direct sponsorship or ﬁnancial grants and launched a multifaceted campaign
                                                                                               to encourage long-term use of OPRs for chronic non-cancer pain (86). As part of this campaign,
                                                                                               Purdue provided ﬁnancial support to the American Pain Society, the American Academy of Pain
                                                                                               Medicine, the Federation of State Medical Boards, the Joint Commission, pain patient groups,
                                                                                               and other organizations (27). In turn, these groups all advocated for more aggressive identiﬁcation
                                                                                               and treatment of pain, especially use of OPRs.
                                                                                                   For example, in 1995, the president of the American Pain Society introduced a campaign en-
                                                                                               titled “Pain is the Fifth Vital Sign” at the society’s annual meeting. This campaign encouraged
                                                                                               health care professionals to assess pain with the “same zeal” as they do with vital signs and urged
                                                                                               more aggressive use of opioids for chronic non-cancer pain (9). Shortly thereafter, the Veterans’
                                                                                               Affairs health system, as well as the Joint Commission, which accredits hospitals and other health
                                                                                               care organizations, embraced the Pain is the Fifth Vital Sign campaign to increase the identi-
                                                                                               ﬁcation and treatment of pain, especially with OPRs. Similarly, the American Pain Society and
                                                                                               the American Academy of Pain Medicine issued a consensus statement endorsing opioid use for
                                                                                               chronic non-cancer pain (31). Although the statement cautioned against imprudent prescribing,
                                                                                               this warning may have been overshadowed by assertions that the risk of addiction and tolerance
                                                                                               was low, risk of opioid-induced respiratory depression was short-lived, and concerns about drug
                                                                                               diversion and abuse should not constrain prescribing.
                                                                                                   Prior to the introduction of OxyContin, many physicians were reluctant to prescribe OPRs
                                                                                               on a long-term basis for common chronic conditions because of their concerns about addiction,
                                                                                               tolerance, and physiological dependence (80). To overcome what they claimed to be “opiopho-
                                                                                               bia,” physician-spokespersons for opioid manufacturers published papers and gave lectures in
                                                                                               which they claimed that the medical community had been confusing addiction with “physical
                                                                                               dependence.” They described addiction as rare and completely distinct from so-called “physical
                                                                                               dependence,” which was said to be “clinically unimportant” (60, p. 300). They cited studies with
                                                                                               serious methodological ﬂaws to highlight the claim that the risk of addiction was less than 1% (28,
                                                                                               45, 52, 59, 62).
                                                                                                   In addition to minimizing risks of OPRs, the campaign advanced by opioid manufacturers
                                                                                               and pain organizations exaggerated the beneﬁts of long-term OPR use. In fact, high-quality,

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                                                                                  long-term clinical trials demonstrating the safety and efﬁcacy of OPRs for chronic non-cancer
                                                                                  pain have never been conducted. Surveys of patients with chronic non-cancer pain receiving
                                                                                  long-term OPRs suggest that most patients continued to experience signiﬁcant chronic pain and
                                                                                  dysfunction (25, 76). The CDC and some professional societies now warn clinicians to avoid
                                                                                  prescribing OPRs for common chronic conditions (29).
                                                                                     Although increased opioid consumption over the past two decades has been driven largely
                                                                                  by greater ambulatory use for chronic non-cancer pain (8), opioid use for acute pain among
                                                                                  hospitalized patients has also increased sharply. A recent study found that physicians prescribed
                                                                                  opioids in more than 50% of 1.14 million nonsurgical hospital admissions from 2009 to 2010,
                                                                                  often in high doses (34). The Joint Commission’s adoption of the Pain is the Fifth Vital Sign
                                                                                  campaign and federally mandated patient satisfaction surveys asking patients to rate how often
                                                                                  hospital staff did “everything they could to help you with your pain” are noteworthy, given the
                                                                                  association with increased hospital use of OPRs.
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                                                                                  REFRAMING THE OPIOID CRISIS AS AN EPIDEMIC OF ADDICTION
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                                                                                  Policy makers and the media often characterize the opioid crisis as a problem of nonmedical OPR
                                                                                  abuse by adolescents and young adults. However, several lines of evidence suggest that addiction
                                                                                  occurring in both medical and nonmedical users, rather than abuse per se, is a key driver of
                                                                                  opioid-related morbidity and mortality in medical and nonmedical OPR users.

                                                                                  Opioid Harms Are Not Limited to Nonmedical Users
                                                                                  Over the past decade, federal and state policy makers have attempted to reduce OPR abuse and
                                                                                  OPR-related overdose deaths. Despite these efforts, morbidity and mortality associated with OPRs
                                                                                  have continued to worsen in almost every US state (10). Thus far, these efforts have focused
                                                                                  primarily on preserving access to OPRs for chronic pain patients while reducing nonmedical
                                                                                  OPR use (89), deﬁned as the use of a medication without a prescription, in a way other than as
                                                                                  prescribed, or for the experience or feeling it causes. However, policy makers who focus solely on
                                                                                  reducing nonmedical use are failing to appreciate the high opioid-related morbidity and mortality
                                                                                  in pain patients receiving OPR prescriptions for medical purposes.
                                                                                      The incidence of nonmedical OPR use increased sharply in the late 1990s, peaking in 2002
                                                                                  with 2.7 million new nonmedical users. Since 2002, the incidence of nonmedical use has gradually
                                                                                  declined to ∼1.8 million in 2012 (64, 70) (Figure 3). Although the number of new nonmedical
                                                                                  users has declined, overdose deaths, addiction treatment admissions, and other adverse public
                                                                                  health outcomes associated with OPR use have increased dramatically since 2002.
                                                                                      A comparison of age groups of nonmedical OPR users to age groups suffering the highest rates
                                                                                  of opioid-related morbidity and mortality suggests that strategies focused exclusively on reducing
                                                                                  nonmedical OPR use are insufﬁcient (Figure 4). Although past-month nonmedical use of OPRs
                                                                                  is most common in teenagers and young adults between the ages of 15 and 24 (65), OPR overdose
                                                                                  deaths occur most often in adults ages 45–54, and the age group that has experienced the greatest
                                                                                  increase in overdose mortality over the past decade is 55–64 (15), an age group in which medical
                                                                                  use of OPRs is common. Opioid overdoses appear to occur more frequently in medical OPR users
                                                                                  than in young nonmedical users. For example, in a study of 254 unintentional opioid overdose
                                                                                  decedents in Utah, 92% of the decedents had been receiving legitimate OPR prescriptions from
                                                                                  health care providers for chronic pain (39).
                                                                                      Middle-aged women and the elderly are more likely than other groups to visit doctors with
                                                                                  complaints of pain (4). The development of iatrogenic opioid addiction in these groups may
                                                                                  explain why they have experienced the largest increase in hospital stays resulting from opioid user

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                                                                                                                                                                                               3,000




                                                                                                                                                         Number of new users (in thousands)
                                                                                                                                                                                               2,500


                                                                                                                                                                                               2,000


                                                                                                                                                                                               1,500


                                                                                                                                                                                               1,000


                                                                                                                                                                                                 500
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                                                                                                                                                                                                      0
                                                                                                                                                                                                          1991 1993 1995 1997 1999 2001 2003 2005 2007 2009 2011
                                                                                                                                                                                                                                                                    Year
                                                                                                                                Figure 3
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                                                                                                                                First-time nonmedical use of pain relievers. Source: 64, 70.

                                                                                                                                disorders since 1993 (56) (Figure 5). Over the past decade, white women ages 55–64 have also
                                                                                                                                experienced the largest increase in accidental opioid overdose deaths (12, 15).

                                                                                                                                Opioid Addiction Is a Key Driver of Morbidity and Mortality
                                                                                                                                Accidental opioid overdose is a common cause of death in individuals suffering from opioid ad-
                                                                                                                                diction (36). Although overdoses do occur in medical and nonmedical OPR users who are not


                                                                                  a                      Past month nonmedical OPR use by age                                                                             b                                    OPR-related unintentional overdose deaths by age
                                                                                                          1,600                                                                                                                                                12


                                                                                                          1,400
                                                                                                                                                                                                                                                               10
                                                                                                                                                                                                                           Death rate per 100,000 population




                                                                                                          1,200
                                                                                  Numbers in thousands




                                                                                                                                                                                                                                                                8
                                                                                                          1,000


                                                                                                           800                                                                                                                                                  6


                                                                                                           600
                                                                                                                                                                                                                                                                4

                                                                                                           400

                                                                                                                                                                                                                                                                2
                                                                                                           200


                                                                                                             0                                                                                                                                                  0
                                                                                                                  15–24    25–34     35–44       45–54                                        55–64          65+                                                    15–24   25–34     35–44   45–54    55–64   65+
                                                                                                                                   Age group (2011)                                                                                                                                 Age group (2011)

                                                                                  Figure 4
                                                                                  (a) Past month nonmedical OPR use by age versus (b) OPR-related unintentional overdose deaths by age. Abbreviation: OPR, opioid
                                                                                  pain reliever. Sources: 58, 68.


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                                                                                                                                        400
                                                                                                                                                     18–24
                                                                                                                                        350                                                               338.1


                                                                                                 Rate of stays per 100,000 population
                                                                                                                                                     25–44
                                                                                                                                                     45–64                                        312.3
                                                                                                                                        300          65–84
                                                                                                                                                     85+                                                                  265.3
                                                                                                                                        250                                                                       230.8
                                                                                                                                                                                          221.8

                                                                                                                                        200           188.6


                                                                                                                                        150

                                                                                                                                        100
                                                                                                                                              70.7            66.6
                                                                                                                                                                     46.0 51.1
                                                                                                                                         50
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                                                                                                                                          0
                                                                                                                                                              1993                                        2012
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                                                                                                                                                                                 Year
                                                                                  Figure 5
                                                                                  Rate of hospital inpatient stays related to OPR use by adult age group, 1993 and 2012. Source: 56.

                                                                                  opioid-addicted, consistent ﬁndings in samples of OPR overdose decedents show that deaths are
                                                                                  most common in individuals likely to be suffering from opioid addiction. A study of 295 unin-
                                                                                  tentional OPR overdose deaths in West Virginia found that four out of ﬁve decedents (80%) had
                                                                                  a history of a substance use disorder (33). Another study found that among 254 opioid overdose
                                                                                  decedents in Utah, about three-fourths (76%) had relatives or friends who were concerned about
                                                                                  the decedent’s misuse of opioids prescribed for pain (39).
                                                                                     The sharp increase in the prevalence of opioid addiction is a key driver of opioid-related
                                                                                  morbidity and mortality. The misattribution of the opioid crisis to nonmedical use or abuse rather
                                                                                  than to addiction has stymied efforts to address this crisis because it has led to a focus on policies
                                                                                  to prevent such nonmedical use at the expense of greater resources committed to preventing and
                                                                                  treating opioid addiction in both medical and nonmedical users.


                                                                                  PREVENTION STRATEGIES
                                                                                  This section organizes strategies for curbing the epidemic of opioid addiction into primary, sec-
                                                                                  ondary, and tertiary prevention. Although some speciﬁc interventions are discussed, we do not
                                                                                  provide an exhaustive list. Rather, our purpose is to demonstrate that prevention strategies em-
                                                                                  ployed in epidemiologic responses to communicable and noncommunicable disease epidemics
                                                                                  apply equally well when the disease in question is opioid addiction. Interventions should focus on
                                                                                  preventing new cases of opioid addiction (primary prevention), identifying early cases of opioid
                                                                                  addiction (secondary prevention), and ensuring access to effective addiction treatment (tertiary
                                                                                  prevention).


                                                                                  Primary Prevention
                                                                                  The aim of primary prevention is to reduce the incidence of a disease or condition. Opioid addiction
                                                                                  is typically chronic, life-long, difﬁcult to treat, and associated with high rates of morbidity and
                                                                                  mortality. Thus, bringing the opioid addiction epidemic under control requires effort to prevent
                                                                                  new cases from developing.

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                                                                                               Preventing addiction caused by medical exposure to OPRs. The incidence of iatrogenic
                                                                                               opioid addiction in patients treated with long-term OPRs is unknown because adequately designed
                                                                                               prospective studies have not been conducted. However, opioid use disorders appear to be highly
                                                                                               prevalent in chronic pain patients treated with OPRs. A survey performed by Boscarino et al.
                                                                                               of 705 chronic pain patients treated in specialty and primary care outpatient centers found that
                                                                                               26% met the Diagnostic and Statistical Manual of Mental Disorders (DSM) IV criteria for opioid
                                                                                               dependence, and 35% met DSM V criteria for an opioid use disorder (6, 7). A systematic review
                                                                                               of studies utilizing opioids for low back pain found that aberrant drug abuse–related behaviors
                                                                                               suggestive of addiction occurred in up to 24% of patients on long-term OPRs (50). Many patients
                                                                                               on long-term OPRs worry about dependence and addiction and express a desire to taper or cease
                                                                                               opioid therapy (76).
                                                                                                   To reduce the incidence of iatrogenic opioid addiction, health care professionals must prescribe
                                                                                               opioids more cautiously for both acute and chronic pain. Unfortunately, the campaign to encourage
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                                                                                               OPR prescribing has left many health care providers with a poor appreciation of opioid risks,
                                                                                               especially the risk of addiction, and an overestimation of opioid beneﬁts. Despite these risks and
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                                                                                               the lack of evidence supporting long-term efﬁcacy, OPR prescribing for chronic non-cancer pain
                                                                                               increased over the past decade while use of nonopioid analgesics decreased (20). This pattern
                                                                                               highlights the need for prescriber education that explicitly corrects misperceptions about OPR
                                                                                               safety and efﬁcacy. If clinicians treating pain more often substituted nonopioid analgesics and
                                                                                               nonpharmaceutical approaches for OPRs, evidence suggests the incidence of opioid addiction
                                                                                               would decline and outcomes for patients with chronic non-cancer pain would improve.
                                                                                                   Many prescribers are unaware that evidence of long-term effectiveness for OPRs is lacking
                                                                                               and that risks, in addition to addiction, include respiratory depression leading to unintentional
                                                                                               overdose death; serious fractures from falls (71, 77); hypogonadism and other endocrine effects that
                                                                                               can cause a spectrum of adverse effects (88); increased pain sensitivity (2); chronic constipation
                                                                                               and serious fecal impaction (81); and chronic dry mouth, which can lead to tooth decay (79).
                                                                                               Providing prescribers with accurate information about opioid risks and beneﬁts could result in
                                                                                               more informed risk/beneﬁt appraisals. Indeed, one of the lessons learned from the nineteenth-
                                                                                               century opioid addiction epidemic was that physicians were educable. By the early 1900s, aggressive
                                                                                               opioid prescribing had become the hallmark of older, less-competent physicians (5).
                                                                                                   Several states, including Iowa, Kentucky, Massachusetts, Ohio, Tennessee, and Utah, have
                                                                                               passed mandatory prescriber education legislation (89). In addition, the US Food and Drug Admin-
                                                                                               istration (FDA) is requiring manufacturers of extended release and long-acting OPRs to sponsor
                                                                                               educational programs for prescribers. Unfortunately, some of these educational programs, includ-
                                                                                               ing those required by the FDA, imply that OPRs are safe and effective for chronic non-cancer
                                                                                               pain instead of offering prescribers accurate information about OPR risks and beneﬁts (84). It
                                                                                               remains unclear whether or not educational programs such as these will reduce OPR prescribing
                                                                                               for common conditions where risks of use are likely to outweigh beneﬁts.
                                                                                                   Some opioid manufacturers have reformulated OPRs to make them more difﬁcult to misuse
                                                                                               through an intranasal or injection route. These so-called abuse-deterrent formulations (ADFs)
                                                                                               may offer safety advantages over easily snorted and injected OPRs, but they do not render them
                                                                                               less addictive. Opioid addiction, in both medical and nonmedical OPR users, most frequently
                                                                                               develops through oral use (85). Some opioid-addicted individuals may transition to intranasal or
                                                                                               injection use, but most continue to use OPRs orally (47). Thus, ADFs should not be considered
                                                                                               a primary prevention strategy for opioid addiction.
                                                                                                   In 2013, the New York City Department of Health and Mental Hygiene released emergency
                                                                                               room guidelines on OPR prescribing (55). Recommendations included in the guidelines call for
                                                                                               substituting nonopioid analgesics when possible, avoiding use of extended-release OPRs, and

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                                                                                  limiting the supply to three days. Reducing patient exposure to OPRs and reducing the supply of
                                                                                  excess OPRs in the homes of discharged patients may be effective strategies for preventing opioid
                                                                                  addiction that can occur from both medical and nonmedical OPR use.

                                                                                  Preventing addiction caused by nonmedical exposure to OPRs. Individuals who use OPRs
                                                                                  nonmedically are at risk for developing opioid addiction. Thus, efforts to reduce nonmedical use
                                                                                  are an important primary prevention strategy. Adolescents and young adults who experiment with
                                                                                  nonmedical use are most likely to obtain OPRs for free from friends or family members who had
                                                                                  received a legitimate prescription (70). This information suggests that more cautious prescribing
                                                                                  is required to prevent nonmedical use of excess OPRs. Unused OPRs in medicine chests should
                                                                                  be immediately discarded or returned to a pharmacy, which became permissible in October 2014
                                                                                  after the Drug Enforcement Administration made a federal regulatory change (82).
                                                                                      Although OPRs have an abuse liability similar to that of heroin (17), they are commonly per-
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                                                                                  ceived as less risky. Seventy-three percent of eighth graders surveyed in 2013 perceived occasional
                                                                                  use of heroin without a needle as high risk, but only 26% perceived occasional use of Vicodin as
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                                                                                  high risk (41). Eighth graders also perceived occasional Vicodin use as less risky than occasional
                                                                                  marijuana use, less risky than smoking 1–5 cigarettes per day, and less risky than moderate alcohol
                                                                                  use.
                                                                                      Individuals who perceive the risk of nonmedical OPR use to be low may be more likely to
                                                                                  misuse OPRs. A 2004 survey found that college students who perceive a low level of risk from
                                                                                  OPRs were 9.6 times more likely to use OPRs nonmedically, as compared with those who perceive
                                                                                  these medications as harmful (3). Although the ability for causal inference from this type of cross-
                                                                                  sectional survey is limited, this ﬁnding suggests that social marketing campaigns designed to
                                                                                  increase perceived harmfulness of OPRs may be an effective prevention strategy.


                                                                                  Secondary Prevention
                                                                                  The aim of secondary prevention is to screen for a health condition after its onset but before it
                                                                                  causes serious complications. Efforts to identify and treat opioid-addicted individuals early in the
                                                                                  course of the disease are likely to reduce the risk of overdose, psychosocial deterioration, transition
                                                                                  to injection opioid use, and medical complications.
                                                                                      Physicians are frequently the source of OPRs for opioid-addicted medical and nonmedical
                                                                                  users (43). Contacts with medical professionals present valuable opportunities for early identi-
                                                                                  ﬁcation of opioid addiction. However, detection of opioid addiction in OPR users can be very
                                                                                  difﬁcult. Opioid-addicted chronic pain patients may demonstrate aberrant drug-related behaviors,
                                                                                  such as presenting for early reﬁlls. However, some opioid-addicted pain patients, especially those
                                                                                  prescribed high doses, may not demonstrate drug-seeking behavior. Opioid-addicted individuals
                                                                                  receiving OPR prescriptions are often reluctant to disclose their concerns about addiction with
                                                                                  prescribers because they fear being judged, being cut off from a legitimate supply, or being labeled
                                                                                  as malingerers for feigning pain.
                                                                                      The difﬁculty of diagnosing opioid addiction in individuals motivated to conceal their condi-
                                                                                  tion suggests that prescribers should seek collateral information before prescribing OPRs. Urine
                                                                                  toxicology can be used to verify a patient’s self-reported drug ingestion history (53). However,
                                                                                  urine toxicology of patients on long-term OPRs is not a reliable strategy for identifying opioid
                                                                                  addiction. Urine toxicology cannot determine if a patient is taking extra doses or if a patient is
                                                                                  using OPRs by an intranasal or injection route.
                                                                                      Opioid-addicted individuals may receive OPR prescriptions from multiple providers, a prac-
                                                                                  tice referred to as “doctor shopping.” Doctor shoppers can be identiﬁed through use of state

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                                                                                               prescription drug monitoring programs (PDMPs). Some state PDMPs send unsolicited reports
                                                                                               to the medical providers of doctor shoppers. Research suggests that unsolicited reports increase
                                                                                               prescribers’ ability to detect opioid addiction, sometimes prompting actions such as coordinating
                                                                                               care with other providers and modifying their own prescribing practices, as well as screening and
                                                                                               referring for addiction treatment (78).
                                                                                                   Prescribers in most states can consult their state PDMP before prescribing OPRs. PDMPs may
                                                                                               be especially useful in emergency rooms and other settings where opioid-addicted individuals feign
                                                                                               pain to obtain OPRs. Too often, however, patients identiﬁed as doctor shoppers are simply turned
                                                                                               away, without hospital staff attempting to link these patients to addiction treatment services. Efforts
                                                                                               must be made to help these clinicians understand that drug-seeking patients are suffering from
                                                                                               the chronic, life-threatening disease of opioid addiction.
                                                                                                   One challenge to PDMP effectiveness has been the low rate of provider use of these data
                                                                                               (48). To increase prescriber utilization, Kentucky, Tennessee, and New York passed legislation
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                                                                                               mandating that prescribers check the PDMP before prescribing controlled substances. Data from
                                                                                               these states indicate that PDMP utilization increased rapidly subsequent to the mandate, which
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                                                                                               correlated with declines in opioid prescribing (KY, TN, NY) and a sharp drop in visits to multiple
                                                                                               providers (TN, NY) (35).


                                                                                               Tertiary Prevention
                                                                                               Tertiary prevention strategies involve both therapeutic and rehabilitative measures once a disease
                                                                                               is ﬁrmly established. The goal of tertiary prevention of opioid addiction is to prevent overdose
                                                                                               deaths, medical complications, psychosocial deterioration, transition to injection drug use, and
                                                                                               injection-related infectious diseases. Doing so is accomplished mainly by ensuring that opioid-
                                                                                               addicted individuals can access effective and affordable opioid addiction treatment.

                                                                                               Opioid addiction treatment. The need for opioid addiction treatment is great and largely unmet.
                                                                                               According to the NSDUH, an estimated 2.1 million Americans are addicted to OPRs, and 467,000
                                                                                               are addicted to heroin (70). Unfortunately, these estimates exclude many opioid-addicted pain
                                                                                               patients because NSDUH participants are told by surveyors that “we are only interested in your
                                                                                               use of prescription pain relievers that were not prescribed for you or that you used only for the
                                                                                               experience or feeling they caused” (67, p. 124).
                                                                                                   In 2005, there were an estimated 10 million chronic pain patients receiving daily, long-term
                                                                                               treatment with OPRs (8). The continuing increase in opioid consumption from 2005 to 2011 (42)
                                                                                               suggests that the number may now exceed 10 million. Applying the prevalence estimates of DSM
                                                                                               IV opioid dependence found by Boscarino et al. (6) in pain patients taking long-term opioids
                                                                                               would indicate that an additional 2.5 million chronic pain patients may be opioid-addicted. Thus,
                                                                                               the total number of Americans suffering from opioid addiction may exceed 5 million.
                                                                                                   Treatment of opioid addiction includes pharmacotherapies and psychosocial approaches, in-
                                                                                               cluding residential treatment, mutual-help programs (e.g., Narcotics Anonymous), and 12-Step
                                                                                               treatment programs. These modalities may be used as stand-alone interventions or in combination
                                                                                               with pharmacotherapy. Psychosocial opioid addiction treatment approaches show value and are
                                                                                               an important treatment option (63). However, research with greater speciﬁcity and consistency is
                                                                                               needed to better evaluate outcomes.
                                                                                                   Pharmacotherapies for opioid addiction include agonist maintenance with methadone and
                                                                                               partial-agonist maintenance with buprenorphine and antagonist treatment with naltrexone, which
                                                                                               is available in a monthly injection. Methadone and buprenorphine work by controlling cravings.
                                                                                               Naltrexone works by preventing opioid-addicted individuals from feeling the effects of opioids.

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                                                                                  Naltrexone may be helpful in highly motivated and carefully selected patients. However, patients
                                                                                  treated with naltrexone may be at increased risk of overdose death should relapse occur (23).
                                                                                       Multiple well-designed randomized controlled trials provide strong evidence that buprenor-
                                                                                  phine maintenance and methadone maintenance are safe and effective treatments for opioid ad-
                                                                                  diction (30, 40, 46, 49, 74, 75). Both buprenorphine and methadone treatment are associated
                                                                                  with reduced overdose risk and improved maternal and fetal outcomes in pregnancy (19, 44, 51,
                                                                                  72). Despite strong evidence supporting the use of buprenorphine and methadone, fewer than
                                                                                  1 million Americans are receiving these treatments (87).
                                                                                       Methadone poses a substantially greater risk of respiratory depression than does buprenorphine
                                                                                  and can be obtained only from licensed opioid treatment programs (OTPs). The lack of OTPs
                                                                                  in many communities presents a major challenge to expanding access to methadone. In contrast,
                                                                                  buprenorphine, a partial opioid agonist, has a better safety proﬁle than does methadone and can be
                                                                                  prescribed in an ofﬁce-based setting (26). Barriers to accessing buprenorphine include federal lim-
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                                                                                  its on the number of patients a physician may treat, ineligibility of nurse practitioners to prescribe
                                                                                  it, and inadequate integration of buprenorphine into primary care treatment. Access to buprenor-
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                                                                                  phine treatment could be expanded if the federal government eased or remove regulatory barriers.

                                                                                  Harm-reduction approaches. Tertiary prevention strategies also include harm-reduction ap-
                                                                                  proaches to improving health outcomes and reducing overdose deaths. In the subset of opioid-
                                                                                  addicted individuals who are heroin injection drug users, evidence suggests that access to syringe
                                                                                  exchange programs can prevent HIV infection (22). These efforts have been less effective at pre-
                                                                                  venting hepatitis C infection, which is increasing rapidly in young, white IDUs (32).
                                                                                      Expanding access to naloxone, an opioid overdose antidote, can prevent overdose deaths by
                                                                                  reversing life-threatening respiratory depression. In the 1990s, syringe exchange programs began
                                                                                  distributing naloxone to injection drug users for the purpose of rescuing peers. Evidence shows that
                                                                                  clients of syringe exchange programs demonstrated the ability to successfully reverse overdoses
                                                                                  when they had been provided with naloxone and training (73). In addition, providing family
                                                                                  members of opioid-addicted individuals and nonparamedic ﬁrst responders with naloxone may be
                                                                                  an effective strategy for rescuing overdose victims (21, 90). At present, there are more than 188
                                                                                  community-based naloxone distribution programs in 15 states and the District of Columbia (11).


                                                                                  CONCLUSION
                                                                                  The increased prevalence of opioid addiction, caused by overprescribing of OPRs, has led to a
                                                                                  parallel increase in opioid overdose deaths. Efforts to address this crisis that focus exclusively
                                                                                  on reducing nonmedical OPR use have been ineffective. Middle-aged and elderly individuals
                                                                                  commonly exposed to OPRs for pain treatment have experienced the largest increase in rates of
                                                                                  opioid-related morbidity and mortality. Recognition that opioid addiction in both medical and
                                                                                  nonmedical users is a key driver of opioid-related morbidity and mortality will result in a more
                                                                                  effective response to this public health crisis. Just as public health authorities would approach
                                                                                  other disease outbreaks, efforts must be made to reduce the incidence of opioid addiction, identify
                                                                                  cases early, and ensure access to effective treatment.
                                                                                      Preventing opioid addiction requires strategies that foster more cautious and selective OPR
                                                                                  prescribing. However, if prescribing is reduced without also ensuring access to addiction treatment,
                                                                                  the opioid overdose death rate may remain at a historically high level and the use of heroin may
                                                                                  continue to increase. Coordinated efforts from federal agencies, state agencies, health care insurers,
                                                                                  and health care providers are required to address the needs of millions of Americans now struggling
                                                                                  with this chronic, life-threatening disease.

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                                                                                               DISCLOSURE STATEMENT
                                                                                               Dr. Alexander is Chair of the FDA’s Peripheral and Central Nervous System Advisory Committee,
                                                                                               serves as a paid consultant to IMS Health, and serves on an IMS Health scientiﬁc advisory board.
                                                                                               This arrangement has been reviewed and approved by Johns Hopkins University in accordance
                                                                                               with its conﬂict of interest policies. Ms. Hwang is a current ORISE Fellow at the FDA.


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